Case 1:21-cv-00097-LAG Document 1-4 Filed 05/24/21 Page 1 of 5

                                                          CLERK OF SUPERIOR COURT
                                                         DOUGHERTY COUNTY, GEORGIA
                                                         SUCV2021000198
                                                                    VSD
                                                           FEB 15, 2021 03:15 PM
Case 1:21-cv-00097-LAG Document 1-4 Filed 05/24/21 Page 2 of 5
Case 1:21-cv-00097-LAG Document 1-4 Filed 05/24/21 Page 3 of 5
Case 1:21-cv-00097-LAG Document 1-4 Filed 05/24/21 Page 4 of 5
Case 1:21-cv-00097-LAG Document 1-4 Filed 05/24/21 Page 5 of 5
